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 1 MARK R. CONRAD (CA Bar No. 255667)
   WILLIAM J. COOPER (CA Bar No. 304524)
 2 COURTNEY C. AASEN (CA Bar No. 307404)
   CONRAD & METLITZKY LLP
 3 Four Embarcadero Center, Suite 1400
   San Francisco, CA 94111
 4 Tel: (415) 343-7100
   Fax: (415) 343-7101
 5 Email: mconrad@conradmetlitzky.com
   Email: wcooper@conradmetlitzky.com
 6 Email: caasen@conradmetlitzky.com

 7 LINDSAY L. RODMAN (pro hac vice forthcoming)
   IRAQ AND AFGHANISTAN VETERANS OF AMERICA
 8 85 Broad Street
   New York, NY 10004
 9 212-982-9699
   lindsay@iava.org
10
   Attorneys for Iraq and Afghanistan Veterans of America
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12                               UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14                                       OAKLAND DIVISION
15
   SIERRA CLUB and SOUTHERN BORDER                CASE NO. 4:19-cv-00892-HSG
16 COMMUNITIES COALITION,
                                                  ORDER GRANTING CONSENT MOTION FOR
17            Plaintiffs,                         LEAVE TO FILE BRIEF OF IRAQ AND
                                                  AFGHANISTAN VETERANS OF AMERICA AS
18       v.                                       AMICUS CURIAE IN SUPPORT OF PLAINTIFFS’
                                                  MOTION FOR PARTIAL SUMMARY
19 DONALD J. TRUMP, President of the United       JUDGMENT
   States, in his official capacity; MARK T.
20 ESPER, Secretary of Defense, in his official
   capacity; and STEVEN MNUCHIN, Secretary        Summary Judgment Hearing: Nov. 20, 2019
21 of the Treasury in his official capacity,      Time: 10:00 a.m.
22            Defendants.
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     NO. 4:19-cv-00892-HSG ORDER GRANTING MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF
             Case 4:19-cv-00892-HSG Document 231 Filed 10/22/19 Page 2 of 2




 1         Upon consideration of the Consent Motion of Iraq and Afghanistan Veterans of America for

 2 Leave To File Amicus Curiae Brief in Support of Plaintiffs’ Motion for Partial Summary Judgment, and

 3 good cause appearing, it is hereby ORDERED that the motion is GRANTED. Counsel is directed to

 4 file the brief attached to amicus Iraq and Afghanistan Veterans of America’s motion on the docket in

 5 this matter.

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 7 DATED: 10/22/2019
                                                       HON. HAYWOOD S. GILLIAM, JR.
 8                                                     United States District Judge
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     NO. 4:19-cv-00892-HSG ORDER GRANTING MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF
